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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION

NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )    Case No. 2:22-cv-293-JRG (Lead Case)
     vs.                         )
                                 )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD, ET )
AL.,                             )
                                 )
            Defendants.          )
                                 )
                                 )
NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )    Case No. 2:22-cv-294-JRG (Member Case)
     vs.                         )
                                 )    JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                 )
            Defendants.          )
                                 )

     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OF
 NONINFRINGEMENT OF U.S. PATENT NOS. 7,619,912 AND 11,093,417
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                               TABLE OF EXHIBITS

Ex. No.     Description

A           Exhibits A, B, and C from Dr. William Henry Mangione-Smith’s Opening
            Expert Report, served on November 20, 2023

B           JESD82-31A, dated August 2019

C           JESD82-32A, dated August 2019

D           DDR4 SDRAM LRDIMM (MTA36ASF4G72LZ)

E           DDR4 SDRAM RDIMM (MTA36ASF2G72PZ)

F           DDR4 3DS SDRAM RDIMM (MTA144ASQ16G72PSZ)

G           DDR4 SDRAM LRDIMM (MTA72ASS8G72LZ)

H           Dr. Harold Stone’s Expert Report Regarding Issues Related to and Non-
            Infringement of Plaintiff’s U.S. Patent No.s 7,619,912 and 11,093,417, served
            on December 21, 2023

I           Excerpts from the Deposition Transcript of Frank Ross, dated August 23, 2023

J           Excerpts from the Deposition Transcript of Robert Jin, dated August 29, 2023




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                                    I.      INTRODUCTION

        Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas LLC (collectively, “Micron”) move for summary judgment of non-infringement

of U.S. Patent Nos. 7,691,912 (“’912 Patent”) and 11,093,417 (“’417 Patent”) (collectively, the

“Patents at Issue”) with respect to the accused Micron DDR4 RDIMM and LRDIMM products.

The Court should grant partial summary judgment in favor of Micron of non-infringement for

Micron’s dual-rank DDR4 LRDIMM and RDIMM products because Micron’s documents show,

and both experts agree, that Micron’s dual-rank products do not use                           , which

is required for Netlist’s infringement theory. The Court should also grant summary judgement for

non-infringement of both Asserted Patents for all Accused Products because Netlist’s infringement

theory is fundamentally flawed by relying on                                                 to prove

infringement of certain claimed circuitry requirements in both Asserted Patents. In Fuijitsu, the

Federal Circuit held that a patent owner cannot rely on an industry standard to prove infringement

when that standard does not provide the level of specificity required to establish that practicing the

standard would always result in infringement. Netlist commits such an error by relying on

                                                  for infringement that lacks the requisite level of

specificity––that is, the                                                                        used

in Micron’s Accused Products, nor are the

                      II.    STATEMENT OF ISSUES TO BE DECIDED

        A.      Whether Micron’s DDR4 dual-rank LRDIMM or RDIMM products can be found

to infringe any claim of the ‘912 and ‘417 patents when Netlist’s expert relied on optional features

from the JEDEC standard to support infringement that are unused by Micron’s DDR4 LRDIMM

and RDIMM dual-rank products.


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       B.      Whether Micron’s DDR4 LRDIMM or RDIMM products can be found to infringe

any claim of the ‘912 and ‘417 patents when Netlist’s expert relied on

              that do not depict circuitry to satisfy claimed circuitry components required by the

Asserted Patents.

                III.   STATEMENT OF UNDISPUTED MATERIAL FACTS

A.     Overview of Asserted Claims & Accused Products

       1.      Netlist originally asserted that Micron’s LRDIMM and RDIMM products, infringes

claims 1-15 of the ’417 Patent and claim 16 of the ’912 Patent. ECF No. 101 (Netlist’s Second

Amended Complaint) at ¶¶ 39, 43-56.

       2.      On November 20, 2023, Netlist served its opening expert report of Dr. William

Henry Mangione-Smith regarding, inter alia, alleged infringement of both the 912 and ’417

patents. In that report, Dr. Mangione-Smith contended that (i) Micron’s DDR4 LRDIMM products

practice claims 1-6 and 8-15 of the ’417 patent and (ii) Micron’s DDR4 LRDIMM and RDIMM

products practice claim 16 of the ’912 patent. Ex-A (Mangione-Smith Op. Rpt., Ex. B (¶ 1), C (¶

1)).

       3.

                                                               . EX-A Mangione-Smith Op. Rpt.,

Ex. B (¶¶ 56, 59, 60, 97).

       4.

                                                                EX-A, Mangione-Smith Op. Rpt.,

Ex. B (¶¶ 61); EX-B (JESD 82-31A), EX-C (JESD 82-32A).




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EX-E, Micron datasheet for DDR4 SDRAM RDIMM (MTA36ASF2G72PZ) at 1, 18; EX-F

(Micron datasheet for DDR4 3DS SDRAM RDIMM (MTA144ASQ16G72PSZ) at 1, 16 (same).

       8.      Both experts agree that Micron dual-rank RDIMM and LRDIMM do not use

                       . Netlist’s expert Dr. Mangione-Smith confirms that, in the Micron

Accused Products,

                                                             ” EX-A, Mangione-Smith Op.

Rpt., Ex. C (¶ 35) citing EX-G, MICNL203-00001392 at MICNL203-00001404. Dr. Stone agrees

and further explains


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Ex. B (JESD 82-31A) at 66 (NL-MS-293_00053445); see Mangione-Smith Report, EX B at ¶ 24

(relying on figure in JEDEC specification for infringement for limitation 16[c] of 912 patent); ¶

32 (relying on figure in JEDEC specification for infringement for limitation 16[d] of 912 patent);

¶¶ 43-44 (relying on figure in JEDEC specification for infringement for limitation 16[f] of 912

patent), ¶ 58 (relying on figure in JEDEC specification for infringement for limitation 16[i] of 912

patent); see Mangione-Smith Report, EX C at ¶¶ 26, 31 (relying on figure for infringement of

limitation 1.b.i for ’417 patent), ¶ 56 (relying on figure for infringement of limitation 1.b.ii for

’417 patent). Dr. Mangione-Smith does not rely on any Micron documents or designs for these

circuitry elements. Although Dr. Mangione-Smith occasionally cites third-party data sheets, he




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                                                                                                 .

see Mangione-Smith Report, EX B at ¶ 44, id., EX C at ¶¶ 26, 31, 56.

       11.     Limitations [16.f] and [16.i] of ’912 patent require that the claimed memory module

must have specific circuitry:

               [16f] the circuit generating a set of output signals in response to the
               set of input signals, the set of output signals configured to control
               the first number of DDR memory devices arranged in the first
               number of ranks, and

               [16.i] a phase-lock loop device coupled to the printed circuit board,
               the phase-lock loop device operatively coupled to the plurality of
               DDR memory devices, the logic element, and the register.

       12.     Similarly, and in his infringement analysis for the ’417 patent, Netlist’s expert

repeatedly relies on the following a

                                                                             :




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Micron’s corporate representative Frank Ross explained that




                                  Ex. I, 2023-08-23 Ross Depo 109:1-9

       15.     Dr. Stone confirms that the

                                                                                    . EX-H, Stone

Non-infringement Report at ¶ 58 (“

                                                .”); see id., ¶¶ 54-63.

                                  IV.     LEGAL STANDARD

       Summary judgment is appropriate when “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). When the party

seeking summary judgment demonstrates the absence of a genuine dispute over any material fact,

the burden shifts to the non-movant to show that there is a genuine factual issue for trial. Celotex


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Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). Although the Court must draw all reasonable

inferences in favor of the non-moving party, mere conclusory allegations cannot defeat a motion

for summary judgment. Eason v. Thaler, 73 F.3d 1322, 1325 (5th Cir. 1996). An accused infringer

is entitled to summary judgment “where the patentee's proof is deficient in meeting an essential

part of the legal standard for infringement.” Johnston v. IVAC Corp., 885 F.2d 1574, 1577 (Fed.

Cir. 1989). “A patentee claiming infringement must present proof that the accused product meets

each and every claim limitation.” Forest Labs., Inc. v. Abbott Labs., 239 F.3d 1305, 1310 (Fed. Cir.

2001). Failure to do so warrants summary judgment of no infringement. See id.

       While the Federal Circuit in Fujitsu held that compliance with an industry standard may

be sufficient to establish patent infringement, the court raised some caveats. Fujitsu Ltd. v. Netgear

Inc., 620 F.3d at 1327 (Fed. Cir. 2010). First, the court noted that “in many instances, an industry

standard does not provide the level of specificity required to establish that practicing the standard

would always result in infringement.” Id. Second, the court stated that in some instances, “the

relevant section of the standard is optional, and standard ... compliance alone would not establish

that the accused infringer chooses to implement the optional section.”

                                       V.      ARGUMENT

A.     The Court Should Grant Partial Summary Judgment of Non-infringement In Favor
       of Micron With Respect to Micron’s Dual-Rank LRDIMM and RDIMM Products
       For The ’912 Patent Because Those Products Do Not Use
       Required Under Netlist’s Infringement Theory.

       Netlist’s infringement theory is predicated on an

                                                      ––that is, Micron’s dual-rank LRDIMM and

RDIMM products––simply do not use.

                                                    See Undisputed Material Facts (UMF), ¶¶ 5, 8.




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                                                       . See Undisputed Material Facts (UMF), ¶ 7.

Netlist’s expert admits as much. See Undisputed Material Facts (UMF), ¶ 8. Netlist’s expert fails

to explain how Micron’s dual-rank products actually practice                               See EX-A,

Mangione-Smith Op. Rpt., Ex. B (¶¶ 36-41). The undisputed evidence shows that Micron’s dual

rank products do not practice the                                              required by Netlist’s

infringement theory. The Court should grant summary judgment of non-infringement as to these

dual-rank products. Allergan Sales, LLC v. Sandoz, Inc., 717 F. App'x 991, 996 (Fed. Cir. 2017)

(affirming summary judgment of noninfringement where plaintiffs “expert confirmed” that

limitation was not met).

       Even if Micron’s data sheet were not conclusive evidence that Netlist’s infringement theory

fails, Netlist infringement theory would fail in any event because Netlist has not provided any

evidence that these Micron products actually use the

                     . For optional features, merely referencing the standard and asserting the

products are standards compliant is not enough to establish infringement. Fujitsu, 1327–28 (Fed.

Cir. 2010) (“[When] the relevant section of the standard is optional, and standards compliance

alone would not establish that the accused infringer chooses to implement the optional section. In

these instances, it is not sufficient for the patent owner to establish infringement by arguing that

the product admittedly practices the standard, therefore it infringes. In these cases, the patent

owner must compare the claims to the accused products or, if appropriate, prove that the accused

products implement any relevant optional sections of the standard.”) (emphasis added).



See Undisputed Material Facts (UMF), ¶¶ 5, 8. Given that

                           ––especially given that Micron’s datasheets confirm its unused in its dual-



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rank DDR4 LRDIMM and RDIMM––the Netlist’s infringement theory needs to rely on more than

practicing the standard to show the Accused products infringe claim 16 of the ’912 patent. see

Sycamore IP Holdings LLC v. AT & T Corp., 294 F. Supp. 3d 620, 633 (E.D. Tex. 2018), aff'd sub

nom. Sycamore IP Holdings LLC v. AT&T Corp., 773 F. App'x 624 (Fed. Cir. 2019). (“It is only in

the situation in which a patent covers “every possible implementation of a standard” that it will be

“enough to prove infringement by showing standard compliance.” Applying the test set forth in

Fujitsu, this Court agrees with the defendants that the evidence does not show that practicing the

[] standard would necessarily infringe the [] patent, and that the defendants are therefore entitled

to summary judgment of non-infringement.”).

         Netlist is certainly already familiar with this failure of proof from a previous International

Trade Commission (“ITC”) decision that found Netlist failed to prove infringement using the same,

                                   :

                But the mere fact that a JEDEC standard requires that the RCD
                component be able to implement Encoded QuadCS mode does not
                necessarily mean that every device incorporating that RCD
                component will utilize Encoded QuadCS mode. Accordingly, while
                compliance with the JEDEC standard may suggest that the RCD
                component is capable of operating in three modes, including
                Encoded QuadCS mode, Netlist has not established that the
                accused products have been enabled to operate in each of the three
                modes, and more particularly in the Encoded QuadCS mode.”).

In the Matter of Certain Memory Modules & Components Thereof Comm'n Opinion, USITC Inv.

No. 337-TA-1089, 2020 WL 4500711, slip at *14 (Apr. 21, 2020). In that case, Netlist failed to

also prove that the Accused products use                             . Here, and unlike that case, the

Micron data sheets expressly state Micron’s dual rank DDR4 RDIMM and LRDIMM products do

                                  . See Undisputed Material Facts (UMF), ¶ 7. This Court should

thus reach the same conclusion—that is, Netlist has not established that the accused products have

in the                          ––and Micron is therefore entitled to summary judgement.
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       To the extent that Netlist argues that its infringement theory is based on all RCDs used in

Micron’s products being capable of using                               , such a theory is insufficient.

Netlist’s infringement theory must show that Micron’s Accused Product is capable of operating



                               . In the Matter of Certain Memory Modules & Components Thereof

Comm'n Opinion, USITC Inv. No. 337-TA-1089, 2020 WL 4500711, slip at *13 (Apr. 21, 2020).

(“Products do not necessarily use every feature of each of its components, so Netlist’s failure to

show that the accused products use Encoded Quad CS mode has created an absence of record

evidence on the issue.”); see also INVT SPE LLC v. Int'l Trade Comm'n, 46 F.4th 1361, 1374-75

(Fed. Cir. 2022) (affirming ITC decision finding no infringement where plaintiff failed to satisfy

its burden to prove infringement by failing to show that both the base station and accused devices

are capable of performing the claim functions).

B.     The Court Should Grant Summary Judgment in Favor of Micron for Non-
       Infringement for Both Patents Because Netlist’s Infringement Theory Is Predicated
       On                               To Prove Infringement of Claimed Circuitry
       Components For Both Asserted Patents When Those


       Netlist’s reliance on                                              does not provide the “level

of specificity required to establish that practicing the standard will always result in infringement”

of the asserted claims of both Asserted Patents. Fuijitsu, at 1327. Specifically, Netlist fails to show

that all Accused Products include the

                                                                                       .

       The Federal Circuit in Fujitsu acknowledged that Patent Owner may rely on industry

standards to prove infringement. But the Court noted that “in many instances, the industry standard

does not provide the level of specificity required to establish that practicing the standard would

always result in infringement.” Fuijitsu, at 1327. That is the situation here. To prove infringement,
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Netlist must show that the Accused Micron Products include the claimed circuitry found in the

RCDs and data buffers. See Undisputed Material Facts (UMF), ¶¶ 11, 13. Netlist’s expert relies

on                                            , but he expresses no opinion that these diagrams are

the only way circuits could be designed or that these diagrams are necessary for a standard-

compliant product. See Undisputed Material Facts (UMF), ¶ 9–10, 12. But these

                                                                      . See Undisputed Material Facts

(UMF), ¶¶ 14, and 15. Consequently, these



                                                      . Thus, the l

         do not provide the “level of specificity required to establish that practicing the standard

will always result in infringement” of the asserted claims. Fuijitsu, at 1327.

       When an industry standard fails to provide enough specificity, as is the case here, “it is not

sufficient for the patent owner to establish infringement by arguing that the product admittedly

practices the standard, therefore it infringes,” which is all Netlist does in this case. Id. At 1328.

Netlist has not proffered any evidence that these

                                                                                     See Undisputed

Material Facts (UMF), ¶¶ 9–10, 12, 14, and 15. The test set forth in Fujitsu requires more: “[o]nly

in the situation where a patent covers every possible implementation of a standard will it be enough

to prove infringement by showing standard compliance.” Id. But, as the testimony above shows,

the logic diagrams are not required by the JEDEC specification. See Undisputed Material Facts

(UMF), ¶ 14. Further, Netlist never advanced any argument that the asserted claims are essential

to any JEDEC standard. Netlist thus cannot just rely on

to prove infringement of claimed circuitry requirements in the Asserted Patents without showing



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“a patent covers every possible implementation of a standard.” Fuijitsu, at 1328; see also

Sycamore IP Holdings LLC v. AT&T Corp., 294 F. Supp. 620 at 633 (E.D. Tex. Feb. 16, 2018)

(“[T]his Court agrees with the defendants that the evidence does not show that practicing the

G.7041 standard would necessarily infringe the '405 patent, and that the defendants are therefore

entitled to summary judgment of non-infringement.”).

       Fuijitsu instead requires that Netlist compare the claims against the circuitry of each of the

RCDs and data buffers to prove infringement, which Netlist failed to do. The Federal Circuit in

Fujitsu explained that, when the industry standard fails to provide enough specificity, “patent

owner must compare the claims to the accused products.” Fuijitsu, at 1328. Netlist’s expert failed

to do so and instead relied on                                           . See Undisputed Material

Facts (UMF), ¶¶ 9–10, 12. Because Netlist’s expert relies on the JEDEC standard for proof of

infringement––as opposed to evidence showing the actual circuitry inside the data buffers and

RCDs used the Micron accused products––Netlist’s infringement theory is fundamentally flawed

and Micron is entitled to summary judgment of non-infringement.

                                     VI.     CONCLUSION

       Thus, for the reasons stated above, Micron respectfully requests that the Court grant its

motion for summary judgment of non-infringement. Alternatively, Micron respectfully requests

that the Court grant its partial motion for summary judgment of non-infringement for the ’912

patent with respect to the dual rank Accused Products.



Dated: January 16, 2024                       Respectfully submitted,

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                                   MICRON TECHNOLOGY TEXAS, LLC




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                                 CERTIFICATE OF SERVICE

       I certify that, on January 16, 2024, a copy of the foregoing was served on all counsel of

record via the Court’s ECF system and email.



                                                                          /s/ Michael R. Rueckheim
                                                                             Michael R. Rueckheim


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document and exhibits attached hereto are authorized

to be filed under seal pursuant to the Protective Order entered in this Case.



                                                                          /s/ Michael R. Rueckheim
                                                                             Michael R. Rueckheim


                              CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Micron and Netlist met and conferred regarding

Defendants’ Motion for Summary Judgment of Noninfringement of U.S. Patent Nos. 7,619,912

and 11,093,417. Netlist's counsel indicated that Netlist opposes Micron's motion.



                                                                          /s/ Michael R. Rueckheim
                                                                             Michael R. Rueckheim




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